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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

KELVIN LEON JONES et al.,

              Plaintiffs,
                                              CONSOLIDATED
                                              CASE NO. 4:19cv00300-RH/MJF
v.

RON DESANTIS et al.,

          Defendants.
__________________________________________/

              DEFENDANT SUPERVISOR OF ELECTIONS
           PETER ANTONACCI’S RULE 26(a)(3) DISCLOSURES

      Defendant, Peter Antonacci, Supervisor of Elections for Broward County,

provides his pretrial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(3)

and states as follows:

I.    Rule 26(a)(3)(A)(i): Identification of Witnesses

      A.      Witnesses that Supervisor Antonacci expects to call at trial:

      None.

      B.      Witnesses that Supervisor Antonacci may call if the need arises:

      1.      Peter Antonacci
              Supervisor of Elections, Broward County, Florida
              115 S. Andrews Ave., Room 102
              Fort Lauderdale, FL 33301
              (954) 357-7050
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       2.      All persons identified or called by Plaintiffs.

       3.      All persons identified or called by other Defendants.

       4.      Any other witnesses needed for impeachment or rebuttal.

II.    Rule 26(a)(3)(A)(ii): Designation of Witnesses Whose Testimony
       Supervisor Antonacci Will Present By Deposition

       Supervisor Antonacci does not expect to present any witness testimony by

deposition.

III.   Rule 26(a)(3)(A)(iii): Identification of Exhibits

       A.      Exhibits that Supervisor Antonacci expects to offer at trial:

       None.

       B.      Exhibits that Supervisor Antonacci may offer at trial:

       1.      All documents previously produced by Supervisor Antonacci through
               discovery in this case.

       2.      All documents Plaintiffs or other Defendants have produced through
               discovery in this case.

       3.      All documents Plaintiffs or other Defendants have identified or will
               identify in their disclosures in this case.
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Respectfully submitted this 2nd day of March, 2020

                                         /s/ Tara R. Price
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                                         Counsel    for   Peter    Antonacci,
                                         Supervisor of Elections for Broward
                                         County
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                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served

via the Court’s CM/ECF system on March 2, 2020 to all counsel of record in this

case.



                                       /s/ Tara R. Price
                                       Attorney
